                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: Madison Chiropractic & Nutrition         )           Case No.: 18-82075-CRJ-11
        Center, LLC                              )
        EIN: xx-xxx0856                          )
                                                 )
               Debtor.                           )           CHAPTER 11
                                                 )




              DEBTOR’S FIRST AMENDED DISCLOSURE STATEMENT
           PURSUANT TO SECTION 1125 OF THE BANKRUPTCY CODE WITH
               RESPECT TO DEBTOR’S PLAN OF REORGANIZATION




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 Dated: February 27, 2019


                                                 1



Case 18-82075-CRJ11         Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36          Desc Main
                                     Document      Page 1 of 40
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 In re: Madison Chiropractic & Nutrition           )          Case No.: 18-82075-CRJ-11
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              FIRST AMENDED DISCLOSURE STATEMENT PURSUANT TO
                   SECTION 1125 OF THE BANKRUPTCY CODE WITH
                 RESPECT TO DEBTOR’S PLAN OF REORGANIZATION


 THIS AMENDED DISCLOSURE STATEMENT HAS BEEN PREPARED BY THE DEBTOR
 AND DESCRIBES THE TERMS AND PROVISIONS OF THE DEBTOR’S PLAN OF
 REORGANIZATION (THE "PLAN"). ANY TERM USED IN THIS DISCLOSURE
 STATEMENT THAT IS NOT DEFINED HEREIN HAS THE MEANING ASCRIBED TO
 THAT TERM IN THE PLAN.

                                              I.
                                        INTRODUCTION
        This Amended Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with
 respect to the Debtor’s Plan of Reorganization (the " Disclosure Statement") relates to the Debtor’s
 Plan of Reorganization (the "Plan").

        THE DEBTOR BELIEVES THAT THE PLAN IS IN THE BEST INTERESTS OF
 CREDITORS AND INTEREST HOLDERS, AND URGES ALL CREDITORS TO VOTE IN
 FAVOR OF THE PLAN. CREDITORS ARE ENCOURAGED TO READ AND CONSIDER
 CAREFULLY THIS ENTIRE DISCLOSURE STATEMENT, INCLUDING THE PLAN OF
 REORGANIZATION ATTACHED HERETO.

        OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE IN WRITING, STATE
 THE NATURE AND AMOUNT OF CLAIMS OR INTERESTS HELD OR ASSERTED BY THE
 OBJECTOR AGAINST THE DEBTOR’S ESTATE OR PROPERTY, THE BASIS FOR THE
 OBJECTION, AND THE SPECIFIC GROUNDS THEREFOR, AND SHALL BE FILED WITH
 THE COURT AND SERVED UPON THE DEBTOR AND THEIR COUNSEL IN THE MANNER

                                                  2



Case 18-82075-CRJ11         Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36           Desc Main
                                     Document      Page 2 of 40
 SET FORTH IN THE ORDER TO BE ISSUED BY THE BANKRUPTCY COURT UPON
 APPROVAL OF THIS DISCLOSURE STATEMENT.

        NO PERSON IS AUTHORIZED BY THE DEBTOR TO GIVE ANY INFORMATION OR
 MAKE ANY REPRESENTATIONS IN CONNECTION WITH THE PLAN OR THE
 SOLICITATION OF ACCEPTANCES OF THE PLAN OTHER THAN AS CONTAINED IN
 THIS DISCLOSURE STATEMENT AND THE ATTACHMENTS HERETO. THE DELIVERY
 OF THIS DISCLOSURE STATEMENT WILL NOT UNDER ANY CIRCUMSTANCES IMPLY
 THAT ALL OF THE INFORMATION IS CORRECT AS OF ANY TIME SUBSEQUENT TO
 THE DATE HEREOF.

        INFORMATION CONTAINED HEREIN REGARDING THE DEBTOR, ITS BUSINESS,
 ASSETS AND LIABILITIES HAS BEEN PROVIDED BY THE DEBTOR. WHERE STATED,
 THE DEBTOR HAS RELIED ON INFORMATION PROVIDED BY ADVISORS. THE DEBTOR
 DISCLAIMS ANY RESPONSIBILITY FOR THE ACCURACY OF THAT INFORMATION. THE
 DEBTOR AND ITS ADVISORS ARE UNAWARE OF ANY FALSE OR MISLEADING
 STATEMENT THAT WOULD MATERIALLY AFFECT A HYPOTHETICAL, INFORMED
 INVESTOR'S DETERMINATION ON HOW TO VOTE ON THE PLAN.

        THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE
 SECURITIES AND EXCHANGE COMMISSION ("SEC"), NOR HAS THE SEC PASSED UPON
 THE ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED HEREIN.

                                                   II.
                GENERAL INFORMATION CONCERNING THE DEBTOR AND
          CERTAIN EVENTS PRECEDING THE DEBTOR’S CHAPTER 11 FILING

 A.     General Description of the Debtor’s Pre-Petition Business.

        Dr. Gregory B. Millar DC CCEP formed the Debtor as a domestic limited liability company
 (“LLC”), in Madison County, Alabama, on June 16, 2016, for the stated purposes of massage, pain
 treatment and retail sales to the general public. The Debtor’s business is currently located at 1908
 Slaughter Road in the City of Madison, Alabama.

        Over the last several years, the Debtor’s business has grown as a full spine care center, offering
 manual and instrument chiropractic adjusting, massage, State of the Art equipment with full therapy
 and rehab, lasers, decompression traction, disc pump and spine care.

                                                    3



Case 18-82075-CRJ11         Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36                Desc Main
                                     Document      Page 3 of 40
         The Debtor rents its business premises from the Virginia Vaughn Erwin Trust c/o Bobby
 Erwin, 277 Bishop Road, Huntsville, Alabama 35806. Neither the Debtor nor Dr. Millar has any
 ownership interest in the Debtor’s business premises.

         All chattel property of the Debtor, including computers, furniture and equipment, is located
 at its business premises and listed in the Debtor’s filed Schedules A and B. Dr. Millar does not
 personally own any of the chattel property used by the debtor in its business.

         As of the petition filing, the Debtor had seven (7) employees, including Dr. Millar. For the first
 quarter of 2018, the Debtor paid these employees total compensation of $57,895.24.

         According to the Debtor’s filed 2017 federal tax return, Dr. Millar received compensation and
 benefits from the Debtor in the total amount of $21,450.00. The Debtor’s 2018 tax return is not yet
 due, but Dr. Millar’s 2018 compensation is estimated expected to be the same. Dr. Millar is the only
 member, officer, or director of the Debtor-company.

         The Debtor filed this Chapter 11 case as means of protection from creditors while sorting out
 its financial affairs in an orderly and fair manner.

         The Debtor’s business is now viable and ongoing, and the Debtor continues to function as
 Debtor-in-Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code. During the
 pendency of this case, the Debtor has continued business operations, paid its ongoing operating
 expenses, and kept up with its 11 U.S.C. § 503 administrative expenses. The Debtor expects its
 profitability to increase as its focus is now directed on running the business efficiently as it has obtained
 legal counsel to assist it in proposing a feasible and fair Plan of Reorganization.

 B.      Financial Condition of the Debtor; Events Necessitating Chapter 11 Protection.

         Prior to the petition filing, the Debtor experienced a cash-flow problem and got behind in its
 federal and state tax payments and filings. Eventually, Internal Revenue Service contacted the Debtor,
 demanded turnover of business records and threatened to seize the Debtor’s assets and padlock its
 doors. Unable to pay IRS at that time, the Debtor filed an emergency petition for bankruptcy relief.

         Since the petition filing, IRS has filed a proof of claim, and several amendments to said claim,
 alleging that the Debtor owes the federal government approximately $100,000.00 in unpaid taxes,
 interest and penalties. Alabama Department of Revenue and Madison County Tax Collector have also
 filed proofs of claim in this case.


                                                        4



Case 18-82075-CRJ11           Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36                 Desc Main
                                       Document      Page 4 of 40
         Despite the adversity experienced over the past several years, the Debtor is currently
 experiencing steady cash flow. The relief from collections communications provided by bankruptcy
 protection, and the focus on core business activities, has resulted in a better operating situation overall.
 As seen in the Debtor’s financial projections attached and discussed in the sections below, it expects
 growing profitability in the years to come to allow it to meet its Plan obligations. A summary of the
 Debtor’s monthly operating reports is attached hereto collectively as Exhibit “A.”

         Because the Debtor anticipates a positive cash flow, it anticipates being able to pay all
 administrative expenses in cash upon confirmation of the Plan of Reorganization without any
 significant diminution to the Estate.

 C.      Debtor’s Ownership and Management History.

         As stated above, Dr. Gregory B. Millar DC CCEP formed the Debtor as a domestic limited
 liability company (“LLC”), in Madison County, Alabama, on June 16, 2010.

         Dr. Millar owns 100% of the Debtor LLC, and so he is the managing member of the Debtor
 LLC. He is also listed in the Office of the Alabama Secretary of State as the registered agent for the
 LLC.

         Dr. Millar also owns three (3) other chiropractic clinics in the greater Huntsville area and is the
 Senior Doctor at the Laser Pain Center in Huntsville and the Alabama Laser Spine Foundation.

         The Debtor projects, following confirmation of the Plan, Dr. Millar will remain the entity’s
 only LLC member and will remain the managing member for the foreseeable future.

                                                     III.
                                         THE CHAPTER 11 CASE

 A.      Commencement of the Case.

         On July 13, 2018, the Debtor filed an emergency petition to commence with this Court a
 voluntary case under Chapter 11 of the Bankruptcy Code. The Debtor continues to operate the business
 as Debtor-in-Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

 B.      First Day Relief.

         Soon after the Petition Date, the Debtor sought a variety of forms of relief, typically referred to
 as "First Day" relief, although the hearings took place over the next several weeks. Initially, the Debtor


                                                      5



Case 18-82075-CRJ11          Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36                  Desc Main
                                      Document      Page 5 of 40
 sought and the Court approved the retention of Sparkman, Shepard & Morris, P.C., as bankruptcy
 counsel.

         In addition, the Debtor received the Court's approval of a variety of routine motions allowing
 it, among other things, to fix the procedure for periodic interim allowance of compensation and
 expenses for the Debtor’s attorneys. The Debtor also sought Court approval for the Debtor to employ
 a CPA to assist the Debtor in preparing and filing its delinquent federal and state tax returns.

 C.      Formation of Unsecured Creditors' Committee.

         Soon after the commencement of this case, the Bankruptcy Administrator for the Northern
 District of Alabama sent out a letter soliciting participation by the Debtor’s unsecured creditors for an
 Official Committee of Unsecured Creditors. However, due to the meager response, the Bankruptcy
 Administrator did not appoint an Unsecured Creditors' Committee in this case.

 D.      Significant Events During the Case.

         Since the beginning of this case in Chapter 11, the majority of the Debtor’s attention and
 resources have been focused on running the business and reviewing creditor claims. Aside from
 engaged in normal operations, as otherwise discussed in this Disclosure Statement, the Debtor reports
 no other significant events occurring during the pendency of this case.

 E.      Assets and Liabilities of the Debtor.

         1.      Debtor’s Major Assets.

                 a.       Unrestricted Cash and Short Term Investments.

         Debtor had approximately $5,473.74 in cash and bank accounts as reflected by the Debtor’s
 filed Schedule B as of the petition filing date.

                 b.       Real Estate.

         The Debtor does not own any real property.

                 c.       Personal Property.

         As of the petition filing date, the Debtor had office equipment it valued at $500.00, a note
 receivable with a face value of $6,000.00, and furniture and fixtures it valued at $18,500.00, as reflected
 by the Debtor’s filed Schedule B.


                                                      6



Case 18-82075-CRJ11           Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36                Desc Main
                                       Document      Page 6 of 40
                 d.       Accounts Receivable.

         The Debtor had $16,601.01 accounts receivable under 90 days old and $36,369.51 in account
 receivable over 90 days old for total accounts receivable of $52,970.52, as reflected by the Debtor’s
 filed Schedule B as of the petition filing date.

                 e.       Causes of Action.

         The Debtor is not aware of any causes of action, and no other adversary proceedings or state
 court actions are pending. However, the Debtor continues to investigate possible causes of action or
 setoffs it might have.

         With respect to possible preference actions, any entity or person who received a payment or
 other property from the Debtor within the 90 days before the Petition Date (or one year before the
 Petition Date if the entity or person is an insider, as defined in Section 547(b)(4)(B) of the Bankruptcy
 Code) is a potential target by the Debtor for a preference action under Section 547 of the Bankruptcy
 Code.

         The Debtor is evaluating the scheduled and filed claims, including priority tax claims, and may
 object to these claims either before or after confirmation. All causes of action of the Debtor, whether
 arising under the Bankruptcy Code or otherwise, are reserved and retained by the Debtor.

         2.      Liabilities.

         As of the Petition Date, the Debtor listed liabilities totaling $119,604.74, as reflected by the
 Debtor’s filed Schedules D-F.




                                                     7



Case 18-82075-CRJ11             Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36            Desc Main
                                         Document      Page 7 of 40
                                                   IV.
                                        SUMMARY OF PLAN

 A.      Overview.

         THIS SECTION PROVIDES A SUMMARY OF THE CLASSIFICATION AND
 TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN AND THE MEANS
 FOR IMPLEMENTATION OF THE PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY
 REFERENCE TO THE PLAN. ALL CAPITALIZED TERMS USED BUT NOT DEFINED IN
 THIS SECTION HAVE THE MEANINGS ASCRIBED TO SUCH TERMS IN THE PLAN.

 B.      Treatment of Administrative Expense Claims and Priority Tax Claims.

         1.     Administrative Expense Claims.

         Except to the extent that a holder of an Allowed Administrative Expense Claim has been paid
 by a Debtor prior to the Effective Date or agrees to less favorable treatment, each holder of an Allowed
 Administrative Expense Claim shall receive Cash from the Debtor obligated for the payment of such
 Allowed Administrative Expense Claim in an amount equal to the Allowed amount of such
 Administrative Expense Claim on the later of the Effective Date and the date such Administrative
 Expense Claim becomes an Allowed Administrative Expense Claim, or as soon thereafter as is
 practicable; provided, however, that Allowed Administrative Expense Claims representing liabilities
 incurred in the ordinary course of business by a Debtor or other obligations incurred by such Debtor
 shall be paid in full and performed by such Debtor in the ordinary course of business in accordance with
 the terms and subject to the conditions of any agreements governing, instruments evidencing, or other
 documents relating to such transactions.

         2.    Professional Compensation and Reimbursement Claims.

         Other than a professional retained by the Debtor pursuant to the Ordinary Course Professional
 Order, any entity seeking an award of the Bankruptcy Court of compensation for services rendered
 and/or reimbursement of expenses incurred on behalf of the Debtor and any Creditors’ Committee
 through and including the Effective Date under Section 105(a), 363(b), 503(b)(2), 503(b)(3), 503(b)(4)
 or 503(b)(5) of the Bankruptcy Code shall (a) file its final application for allowance of such
 compensation and/or reimbursement by no later than the date that is 120 days after the Effective Date
 or such other date as may be fixed by the Bankruptcy Court, and (b) be paid by or on behalf of the
 Debtor in full and in Cash in the amounts Allowed upon (i) the date the order granting such award

                                                    8



Case 18-82075-CRJ11         Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36               Desc Main
                                     Document      Page 8 of 40
 becomes a Final Order, or as soon thereafter as practicable, or (ii) such other terms as may be mutually
 agreed upon by the claimant and the Debtor obligated for the payment of such Allowed Claim. The
 Debtor is authorized to pay compensation for professional services rendered and reimburse expenses
 incurred on behalf of the Debtor and the Creditors’ Committee after the Effective Date in the ordinary
 course and without Bankruptcy Court approval.

         3.      Priority Tax Claims.

         Except to the extent that a holder of an Allowed Priority Tax Claim has been paid prior to the
 Effective Date or agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim shall
 receive from one or more of the Debtor(s) obligated for the payment of such Allowed Priority Tax
 Claim, and at the sole option of such Debtor(s), (i) Cash in an amount equal to the Allowed amount of
 such Priority Tax Claim on the later of the Effective Date and the date such Priority Tax Claim becomes
 an Allowed Priority Tax Claim, or as soon thereafter as is practicable, or (ii) equal Cash payments to
 be made initially on the Effective Date or as soon thereafter as practicable and monthly thereafter in an
 aggregate amount equal to such Allowed Priority Tax Claim, together with interest at a fixed annual
 rate, over a period from the Effective Date through the fifth (5th) anniversary after the Commencement
 Date; provided, however, that such election shall be without prejudice to the Debtor’s right to prepay
 such Allowed Priority Tax Claim in full or in part without penalty.

 C.      Classification and Treatment of Claims and Interests: Summary.

         The following is a designation of the classes of Claims and Interests under this Plan. In
 accordance with Section 1123(a)(1) of the Bankruptcy Code, Claims that are not impaired have been
 noted and will not vote on the Plan. A Claim or Interest is classified in a particular class only to the
 extent that the Claim or Interest qualifies within the description of that class, and is classified in another
 class or classes to the extent that any remainder of the Claim or Interest qualifies within the description
 of such other class or classes. A Claim or Interest is classified in a particular class only to the extent
 that the Claim or Interest is an Allowed Claim or Allowed Interest in that class and has not been paid,
 released or otherwise satisfied before the Effective Date; a Claim or Interest which is not an Allowed
 Claim or Interest is not in any Class. Notwithstanding anything to the contrary contained in this Plan,
 no distribution shall be made on account of any Claim or Interest that is not an Allowed Claim.

         A copy of the clerk’s Claims Register as of January 6, 2019 is attached hereto as Exhibit “B.”
 In any instance where the information in a proof of claim listed on the Claims Register differs from the
 information in the Debtor’s filed schedules, the information in the proof of claim will be deemed the

                                                       9



Case 18-82075-CRJ11           Doc 65     Filed 02/27/19 Entered 02/27/19 14:43:36                  Desc Main
                                       Document      Page 9 of 40
 correct information for the terms of this Plan. However, the Debtor reserves the right to object to any
 filed proof of claim, as more fully explained elsewhere in this Plan.

           Class               Impairment       Treatment


                                                The creditor in this class will be paid in full their
                                                approved claim amount over the course of a 60-month
                                                term with interest accruing at the rate of 5.00%, with a
         Class 1 –             Claim # 3
                                                standard amortization schedule for the term. Except as
      Secured Claim            ($1,100.39)
                                                otherwise provided, this creditor will retain all security
          ADOR                  Impaired
                                                interests in any collateral. New payments will begin on
                                                the Effective Date. (Estimated monthly payment of
                                                $20.77).




                                                The creditors in this class will be paid in full their
                               Claims # 1       approved claim amount over the course of a 60-month
         Class 2 –
                            ($85,279.80), #2    term with interest accruing at the rate of 5.00%, with a
   Unsecured Priority
                             ($104.89), and     standard amortization schedule for the term. New
       Tax Claims
                             #4 ($7,400.12)     payments will begin on the Effective Date. (Estimated
      ADOR & IRS
                                Impaired        monthly payment of $1,609.34 to IRS and $141.63 to
                                                ADOR).




         Class 3 –             Claims # 5
                                                The creditors in this class will be paid in full their
       De Minimis           ($745.44) and #6
                                                approved claim amount, without interest, within 60
   Unsecured Priority          ($298.38)
                                                days of the effective date.
          Claims                Impaired




         Class 4 –              Claims # 1      Beginning on the Effective Date, Debtor will begin
   General Unsecured        ($20,213.84), #2 making monthly payments of $100.00, split on a pro-
          Claims            ($65.00), and #4 rata basis between all creditors in this Class on their


                                                     10



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                    Desc Main
                                   Document    Page 10 of 40
                                 ($219.91),       approved claim amounts, until the sum of 10% of the
                                  Impaired        total allowed claims in this class are paid. Thereafter,
                                                  any remaining balance on the claims in this Class will be
                                                  forever discharged. Payments to creditors in this class
                                                  are estimated to last for a term of 21 months (Total
                                                  estimated class payment to IRS = $2,021.38; total
                                                  estimated class payment to ADOR = $28.49).
                                                  (Estimated monthly payment of $98.61 to IRS and $1.39
                                                  to ADOR).




                                                  Equity interest holders will retain their membership
           Class 5 –
                                                  interests in Debtor and, in order to comply with the new
      Interests of Equity        Impaired;
                                                  value exception to the absolute priority rule, will
      Interest Holders in     Not Entitled to
                                                  contribute the sum of $1,000.00 to the Debtor entity by
           Debtor                   Vote
                                                  or before the Plan’s Effective Date.




          Note: Provided that all Claims will have been paid to the extent provided for in this Plan, the
 Debtor will retain all Assets, subject to all remaining perfected encumbrances, as well as any remainder
 of the Estate not otherwise liquidated.

 D.       Debtor’s Rational for Determining Recovery Percentiles to Classes Contemplated in the
          proposed Plan

          1.      Secured Creditor (Class 1).

          The creditor in Class 1 will be paid in full because this creditor is over secured for value in the
 Debtor’s property and is entitled to payment-in-full. 11 U.S.C. § 506(b).

          2.      Priority Unsecured Creditors (Classes 2-3).

          The creditors in Classes 2 and 3 will be paid in full because these claims rare entitled to priority
 pursuant to 11 U.S.C. § 507(a)(8) and the Plan must contemplate payment in full before any
 distributions are allowed to general unsecured creditors.


                                                       11



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                      Desc Main
                                    Document    Page 11 of 40
         3.       General Unsecured Creditors (Classes 4).

         The Plan proposes paying unsecured creditors a total of 10% of their allowed claims based on
 the net revenue available for plan-payments as projected for the years 2019-2023 and attached to this
 Disclosure Statement as Exhibit “E” and discussed in Section VI(A)(2)(c). According to Ex. E, the
 Debtor expects to contribute the majority of its net revenue available for plan-payments to paying the
 creditors in Classes 1-3, leaving little in funds remaining for the general unsecured creditors, whose
 priority is lower that these other classes of creditors. Accordingly, the Debtor proposed a payment of
 10% because it is the largest amount the Debtor believes it can reliably pay to its unsecured creditors,
 in accord with the budget in Ex. E, without running the risk of likely defaulting on its payment
 obligations to the creditors in this class.

         4.       Equity Security Holders (Class 5).

         The equity securities holders will retain their interests in the Debtor, despite being lower-
 priority claimants than the general unsecured creditors, because of the proposed satisfaction of New
 Value Exception to the Absolute Priority Rule, as discussed in Sections III(E)(2), (M), & (N) of this
 Disclosure Statement.

 E.      Means for Execution and Implementation of the Plan.

         1.       Funding of the Distribution.

         On the Effective Date, the Debtor shall first fund payments to the holders of Allowed
 Administrative Claims.

         2.       “New Value” To Be Contributed by Members.

         Because the “New Value” rule may apply, the equity security holders will contribute
 $1,000.00 by the Effective Date of the Plan. The Debtor’s basis for determining the sum of $1,000.00
 as new value is discussed in Sections III(M) & (N) of this Disclosure Statement.

         The Debtor will use the New Value for general operation expenses and towards to payment of
 allowed creditors claims pursuant to the payment plan it its confirmed Plan. The Debtor will not
 distribute any portion of the New Value to its equity security holders.




                                                    12



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                 Desc Main
                                    Document    Page 12 of 40
         3.      Corporate Action.

         On the Effective Date, the Debtor shall be authorized and directed to take all necessary and
 appropriate actions to effectuate the transactions contemplated by the Plan and Disclosure Statement.

         4.      Preservation of Rights of Action.

         Except as otherwise provided in the Plan, or in any contract, instrument, release, or other
 agreement entered into in connection with the Plan in accordance with Section 1123(b) of the
 Bankruptcy Code, the Debtor shall retain and may enforce any claims, rights and causes of action that
 the Debtor or the Estate may hold against any entity, including, without limitation, any claims, rights
 or causes of action arising under Sections 544 through 551 or other sections of the Bankruptcy Code or
 any similar provisions of state law, or any other statute or legal theory. The Debtor or any successor to
 or designee thereof may pursue those rights of action, as appropriate, in accordance with what is in the
 best interests of the Debtor.

         5.      Objections to Claims.

         Except as otherwise provided for with respect to applications of professionals for compensation
 and reimbursement of expenses under Article 3 of the Plan, or as otherwise ordered by the Bankruptcy
 Court after notice and a hearing, objections by any party other than the Debtor to filed Claims shall be
 Filed and served upon the holder of such Claim or Administrative Claim not later than the Effective
 Date, unless this period is extended by the Court. Such extension may occur ex parte. After the Effective
 Date, only the Debtor shall have the exclusive right to object to Claims.

 F.      Funding and Methods of Distribution and Provisions for Treatment of Disputed Claims.

         1.      Funding of Distributions under the Plan.

         The Debtor’s normal cash flow shall be the sole source of funds for the payments to creditors
 authorized by the U.S. Bankruptcy Court’s confirmation of this Plan. The Debtor reserves the right to
 sell collateral for the purpose of providing some funding for the Plan as the Debtor deems necessary.

         2.      Distributions to Holders of Allowed Administrative Expense Claims.

         Commencing on the Effective Date, the Debtor shall, in accordance with the Plan, distribute
 to each holder of a then unpaid Allowed Administrative Expense Claim in the Allowed amount of such
 holder's Claim if and to the extent that the balance, if any, of such Claim is Allowed by Final Order.


                                                     13



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                   Desc Main
                                   Document    Page 13 of 40
 The Debtor shall not tender a payment to the holders of Allowed Administrative Expense Claims until
 all Disputed Claims that are alleged to be Administrative Claims have been allowed or disallowed.

         3.      Disputed Claims.

         Notwithstanding any other provisions of the Plan, no payments or distributions shall be made
 on account of any Disputed Claim until such Claim becomes an Allowed Claim, and then only to the
 extent that it becomes an Allowed Claim.

         4.      Delivery of Distributions and Undeliverable or Unclaimed Distributions;
                 Failure to Negotiate Checks.
         The Plan established procedures for the delivery of distributions and for the disposition of
 undeliverable distributions and checks that are not timely negotiated.

         5.      De Minimis Distributions.

         No Cash payment of less than twenty dollars ($20.00) shall be made to any holder on account
 of an Allowed Claim unless a request therefor is made in writing to the Debtor.

         6.      Compliance with Tax Requirements.

         In connection with the Plan, to the extent applicable, the Debtor shall comply with all
 withholding and reporting requirements imposed on it by any governmental unit, and all distributions
 pursuant to the Plan shall be subject to such withholding and reporting requirements.

         7.      Setoffs.

         Unless otherwise provided in a Final Order or in this Plan, the Debtor may, but shall not be
 required to, set off against any Claim and the payments to be made pursuant to the Plan in respect of
 such Claim, any claims of any nature whatsoever the Debtor may have against the holder thereof or its
 predecessor, but neither the failure to do so nor the allowance of any Claim hereunder shall constitute
 a waiver or release by the Debtor of any such Claims the Debtor may have against such holder or its
 predecessor.

 G.      Treatment of Executory Contracts and Unexpired Leases.

         The Plan constitutes and incorporates a motion by the Debtor to reject, as of the Effective Date,
 all pre-petition executory contracts and unexpired leases to which the Debtor is a party, except for any
 executory contract or unexpired lease that (i) has been assumed or rejected pursuant to a Final Order,
 or (ii) is the subject of a pending motion for authority   to assume the contract or lease filed by the
                                                       14



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                  Desc Main
                                    Document    Page 14 of 40
 Debtor prior to the Confirmation Date. The Plan establishes a bar date for filing Rejection Claims not
 already barred.

 H.      Effects of Plan Confirmation.

         1.        No Liability for Solicitation or Participation.

         As specified in Section 1125(e) of the Bankruptcy Code, Persons that solicit acceptances or
 rejections of the Plan and/or that participate in the offer, issuance, sale, or purchase of securities
 offered or sold under the Plan, in good faith and in compliance with the applicable provisions of the
 Bankruptcy Code, are not liable, on account of such solicitation or participation, for violation of any
 applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or
 the offer, issuance, sale, or purchase of securities.

         2.        Limitation of Liability.

         Neither the Debtor and any professional Persons retained by them; any of their affiliates nor
 any of their officers, directors, partners, associates, employees, members or agents (collectively the
 "Exculpated Persons"), shall have or incur any liability to any Person for any act taken or omission
 made in good faith in connection with or related to the Bankruptcy Case or actions taken therein,
 including negotiating, formulating, implementing, confirming or consummating the Plan, the
 Disclosure Statement, or any contract, instrument, or other agreement or document created in
 connection with the Plan. The Exculpated Persons shall have no liability to any Creditors or Equity
 Security Holders for actions taken under the Plan, in connection therewith or with respect thereto in
 good faith, including, without limitation, failure to obtain Confirmation of the Plan or to satisfy any
 condition or conditions, or refusal to waive any condition or conditions, precedent to Confirmation or
 to the occurrence of the Effective Date. Further, the Exculpated Persons will not have or incur any
 liability to any holder of a Claim, holder of an Interest, or party-in-interest herein or any other Person
 for any act or omission in connection with or arising out of their administration of the Plan or the
 property to be distributed under the Plan, except for gross negligence or willful misconduct as finally
 determined by the Bankruptcy Court, and in all respects such persons will be entitled to rely upon the
 advice of counsel with respect to their duties and responsibilities under the Plan.

         3.        Other Documents and Actions.

         The Debtor as Debtor-In-Possession may execute such documents and take such other action
 as is necessary to effectuate the transactions provided for in the Plan.

                                                         15



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                   Desc Main
                                    Document    Page 15 of 40
           4.     Term of Injunctions or Stays.

           Unless otherwise provided, all injunctions or stays provided for in the Reorganization Case
 pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and in effect on the Confirmation
 Date shall remain in full force and effect until the Effective Date.

           So long as the Debtor’s Chapter 11 case is not dismissed or the Debtor has failed to cure any
 Plan default, as described in Section K below, the protections afforded it by 11 U.S.C. § 362 will remain
 in full effect to stay all collection actions of any pre-petition debts, claims, liens, or other related
 occurrences against the Debtor, the bankruptcy estate, or property of the bankruptcy estate for the
 pendency of its Chapter 11 Plan.

           5.     Stay on Governmental Units from Engaging in any Collection Action Against any
                  Responsible Persons During the Pendency of the Plan.
           Unless otherwise provided, all Governmental Units, as defined by the Bankruptcy Code, are
 stayed from engaging in any collection action of any nature against any employee, owner, manager,
 director, or principal of the Debtor relating to or arising from a tax liability of the Debtor which is
 concurrently or jointly assessed against any employee, owner, manager, director, or principal of the
 Debtor.

           This section applies to any non-debtors deemed a “responsible person” and assessed the Trust
 Fund Recovery Penalty from a tax due arising from or due and owed by the Debtor in the ordinary
 course of operating its business. All Governmental Units must first look to the Debtor for satisfaction
 of any such tax debts and then may only take collection action against any responsible person if the
 Debtor’s Chapter 11 case has been dismissed by the Bankruptcy Court, the Debtor’s Plan fails to
 provider for satisfaction of the amounts to which any non-debtor is jointly responsible, or the Debtor
 has failed to cure any Plan default to that Governmental Unit, as described in Section K, below.

 I.        Confirmability of Plan and Cramdown.

           The Debtor requests Confirmation under Section 1129(b) of the Bankruptcy Code if any
 impaired class does not accept the Plan pursuant to Section 1126 of the Bankruptcy Code. In that event,
 the Debtor reserves the right to modify the Plan to the extent, if any, that Confirmation of the Plan
 under Section 1129(b) of the Bankruptcy Code requires modification.




                                                     16



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                  Desc Main
                                    Document    Page 16 of 40
 J.      Retention of Jurisdiction.

         The Plan provides for the Bankruptcy Court to retain the broadest jurisdiction over the
 reorganization case as is legally permissible so that the Bankruptcy Court can hear all matters related
 to the consummation of the Plan, the claims resolution process, and the administration of the Chapter
 11 Estate.

 K.      Default and Opportunity to Cure.

         During the pendency of this Plan, should any party-in-interest aver that the Debtor has
 materially defaulted to any of its obligations under this Plan, such party must give written notice of the
 default to the Debtor and the Debtor’s Counsel listed below. The Debtor will have 21 days from receipt
 of the notice to cure any such default. If the Debtor fails to cure within this 21-day deadline, the party
 giving notice of the default may proceed accordingly with any legal rights available under applicable
 law.

 L.      Notices.

         Notices to be provided under this Plan shall be transmitted to the Debtor by service to both of
 the following addresses:

         Madison Chiropractic and Nutrition Center, LLC
         c/o Their Attorneys
         SPARKMAN, SHEPARD & MORRIS, P.C.
         P.O. Box 19045
         Huntsville, AL 35804

                 and

         Madison Chiropractic and Nutrition Center, LLC
         P.O. Box 21157
         Huntsville, AL 35813

 M.      The Absolute Priority Rule and New Value to be Contributed.

         The leading decision on the absolute priority rule is Bank of America National Trust and Savings
 Association v. 203 North LaSalle Street Partnership, 526 U.S. 434, 442, 119 S.Ct. 1411, 1416, 143 L.Ed.2d
 607 (1999), in which the U.S. Supreme Court held that the debtor’s pre-bankruptcy equity holders
 could not, over the objection of a senior class of impaired creditors, contribute new capital to retain
 ownership interests in the new entity, when that opportunity was given exclusively to the old equity
 holders without consideration of alternatives or           market valuation. Id. at 437, 119 S.Ct. at 1414.
                                                     17



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                     Desc Main
                                   Document    Page 17 of 40
         Since 203 North LaSalle , a number of federal courts have held that a plan of reorganization
 must:

         1. Allow for competing plans; and
         2.   Subject the opportunity to own the reorganized company to a “market place” test by
              allowing others to bid.

 Cf. In re Global Ocean Carriers Ltd., 251 B.R. 31 (Bankr. De. 2000); In re Situation Management
 Systems, Inc., 252 B.R. 859 (Bankr. Mass. 2000). In the present case, the exclusivity period for filing
 competing plans has passed. Thus, it is not necessary for the Debtor’s Plan to specify that competing
 plans are allowed.

         Should the Absolute Priority Rule apply, in order to comply with the “market place” test the
 Debtor will advertise the opportunity to purchase the Debtor in at least two newspapers of general
 circulation in Alabama and at least two trade publications with circulation outside of Alabama.

         Should parties other than the current owner desire to submit competing offers to purchase the
 Debtor company, those offers shall be submitted to the Court by or before a deadline to be established
 and noticed to all parties-in-interest to this case. The Court will then hold a hearing to determine the
 terms, conditions, and bidding procedures of an auction to purchase the Debtor company.

         The Debtor will use this New Value for general operation expenses and towards to payment of
 allowed creditor claims pursuant to the confirmed Plan of Reorganization. The Debtor will not
 distribute any portion of the New Value to its equity security holders.

 N.               Basis of Determining the New Value to be Contributed by the Debtor’s Equity
                  Security Holders.

         The sole LLC member’s offer of $1,000.00 as new value is based upon the following analysis:

                  (1)     The Debtor is currently insolvent, based on the liquidation analysis discussed
                          in Section VI(A)(2)(c) and in the attached Exhibit “C”;

                  (2)     Should the Debtor liquidate, allowed secured creditors could expect a payout
                          of approximately 14% of their allowed claims, priority creditors $0.00, general
                          unsecured creditors $0.00, and equity security creditors $0.00;

                  (3)     No property or residual interests would remain following liquidation;

                  (4)     Equity security holders would expect to receive no return from the liquidation;

                                                     18



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                  Desc Main
                                   Document    Page 18 of 40
                 (5)     Pursuant to the terms of the plan of reorganization proposed above and the
                         Debtor’s projected financials in attached as Exhibit “D”, the Debtor projects
                         to remain insolvent until the completion of its 60-month payment plan in its the
                         plan of reorganization; and

                 (6)     The Debtor does not expect to make any member distributions during the
                         terms of its payment plan in effect under its Plan of Reorganization.

         Accordingly, any purchaser of the Debtor’s equity security interest bears the possibility that its
 security interest will have no value until five years after the Effective Date. While the Debtor proposes
 its Plan of Reorganization in good-faith and believes that it can successfully reorganize, there is
 substantial risk in any business investment for equity-security holders, especially for an insolvent
 company attempting to reorganize.

         The $1,000.00 offered by the current owner of the Debtor is made good-faith to show his
 ongoing commitment to acting it the best interest of the Debtor and its creditors. This offer represents
 a contribution of funds in excess of liquidation or book value of the Debtor.

                                                    V.
           CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

         The following discussion is a summary of certain federal income tax aspects of the Plan and is
 for general information only. This discussion is based upon existing provisions of the Internal Revenue
 Code of 1986, as amended ("IRC"), existing regulations thereunder, and current administrative rulings
 and court decisions. No assurance can be given that legislative or administrative changes or court
 decisions may not be forthcoming which would require significant modification of the statements
 expressed in this section. The discussion does not address foreign, state or local tax consequences of
 the Plan, nor does it purport to address the federal tax consequences of the Plan to special classes of
 taxpayers (such as foreign companies, nonresident alien individuals, S corporations, mutual funds,
 insurance companies, financial institutions, small business investment companies, regulated
 investment companies, broker-dealers and tax-exempt organizations). Accordingly, it should not be




                                                       19



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                     Desc Main
                                   Document    Page 19 of 40
 relied upon for purposes of determining the specific tax consequences of the Plan with respect to a
 particular holder of a Claim or Interest.

         Due to the complexity of the transactions to be consummated pursuant to the Plan, some of
 which are discussed below; the lack of applicable legal precedent and the possibility of changes in law;
 differences in the nature of various Claims; differences in individual Claim holders' methods of
 accounting; and the potential for disputes as to legal and factual matters, the federal income tax
 consequences described herein are subject to significant uncertainties.

         NO RULING HAS BEEN SOUGHT OR OBTAINED FROM THE IRS WITH RESPECT
 TO ANY OF THE TAX ASPECTS OF THE PLAN AND NO OPINION OF COUNSEL HAS
 BEEN OBTAINED BY DEBTOR WITH RESPECT THERETO. NO REPRESENTATIONS OR
 ASSURANCES ARE BEING MADE WITH RESPECT TO THE FEDERAL INCOME TAX
 CONSEQUENCES AS DESCRIBED HEREIN. CERTAIN TYPES OF CLAIMANTS AND
 INTEREST HOLDERS MAY BE SUBJECT TO SPECIAL RULES NOT ADDRESSED IN THIS
 SUMMARY OF FEDERAL INCOME TAX CONSEQUENCES. THERE ALSO MAY BE STATE,
 LOCAL, OR FOREIGN TAX CONSIDERATIONS APPLICABLE TO A HOLDER OF A CLAIM
 OR INTEREST THAT ARE NOT ADDRESSED HEREIN. EACH HOLDER OF A CLAIM OR
 INTEREST AFFECTED BY THE PLAN MUST CONSULT, AND RELY UPON, HIS OR HER
 OWN TAX ADVISOR REGARDING THE SPECIFIC TAX CONSEQUENCES OF THE PLAN
 WITH RESPECT TO THAT HOLDER'S CLAIM OR INTEREST. THIS INFORMATION MAY
 NOT BE USED OR QUOTED IN WHOLE OR IN PART IN CONNECTION WITH THE
 OFFERING FOR SALE OF SECURITIES.

 A.      Federal Income Tax Consequences to Debtor.

         Under the Plan, the Debtor will be paying Plan liabilities from normal cash flow. There should
 be no net operating profit or loss to the Debtor following the Effective Date resulting from the
 transactions contemplated by the Plan.

 B.      Federal Income Tax Consequences to Holders of Claims.

         1.      Holders of Claims.

         Holders of Claims will recognize a gain or loss equal to their respective amounts realized (if
 any) under the Plan in respect of their Claims less their respective tax bases in their Claims. The
 amounts realized for this purpose generally will equal the sum of the cash and the fair market value of

                                                    20



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                  Desc Main
                                   Document    Page 20 of 40
 any other consideration received under the Plan in respect of their Claims. The recognition of gain or
 loss by a holder of Claims may also be affected by the holder's accounting method and other factors and
 circumstances particular to such holder.

         Holders of Claims not previously required to include in their taxable income any accrued but
 unpaid interest on a Claim may be treated as receiving taxable interest, to the extent any consideration
 they receive under the Plan is allocable to such accrued but unpaid interest. Holders previously
 required to include in their taxable income any accrued but unpaid interest on a Claim may be entitled
 to recognize a deductible loss, to the extent that such accrued but unpaid interest is not satisfied under
 the Plan.

 C.      Backup Withholding and Information Reporting.

         Payors of interest, dividends, and certain other reportable payments are generally required to
 withhold thirty-one percent (31%) of such payments if the payee fails to furnish such payee's correct
 taxpayer identification number (social security number or employer identification number), to the
 payor. The Debtor may be required to withhold a portion of any payments made to a holder of an
 Allowed Claim that does not provide its taxpayer identification number.

 D.      Importance of Obtaining Professional Tax Assistance.

         THE FOREGOING IS INTENDED AS A SUMMARY ONLY, AND IS NOT A
 SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
 FEDERAL, STATE AND LOCAL INCOME AND OTHER TAX CONSEQUENCES OF THE
 PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH CONSEQUENCES MAY
 ALSO VARY BASED ON THE PARTICULAR CIRCUMSTANCES OF EACH CLAIM HOLDER.
 ACCORDINGLY, EACH CLAIM AND INTEREST HOLDER IS STRONGLY URGED TO
 CONSULT WITH HIS, HER OR ITS OWN TAX ADVISOR REGARDING THE FEDERAL,
 STATE AND LOCAL INCOME AND OTHER TAX CONSEQUENCES UNDER THE PLAN.




                                                     21



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                    Desc Main
                                   Document    Page 21 of 40
                                                   VI.
              VOTING PROCEDURES AND CONFIRMATION REQUIREMENTS.

 A.      Confirmation of the Plan.

         1.      Confirmation Hearing.

         Section 1128 of the Bankruptcy Code requires the Court, after notice, to hold a hearing on
 whether the Plan and its proponents have fulfilled the confirmation requirements of Section 1129 of the
 Bankruptcy Code. A hearing (the "Confirmation Hearing") to consider confirmation of the Plan will be
 scheduled at the United States Bankruptcy Court for the Northern District of Alabama. The
 Confirmation Hearing may be adjourned from time to time by the Court without further notice except
 for the announcement of the adjourned date at the Confirmation Hearing.

         Any objection to confirmation must be made in writing and must specify in detail the name and
 the address of the Person objecting, the grounds for the objection and the nature and amount of the
 Claim or Interest held by the objector. Any such objection must be filed with the Court and served upon
 the parties designated in the notice of the confirmation hearing (the "Confirmation Notice") on or
 before a date which will be specified in the Order approving this Disclosure Statement. Unless an
 objection to confirmation is timely served and filed, it will not be considered by the Court.

         2.      Requirements for Confirmation of the Plan.

         In order to confirm the Plan, the Bankruptcy Code requires that the Court make a series of
 findings concerning the Plan and the Debtor, including that: (a) Claims and Interests are classified in
 the Plan in a permissible manner; (b) the Plan complies with the applicable provisions of the Bankruptcy
 Code; (c) the Debtor has complied with applicable provisions of the Bankruptcy Code; (d) the Debtor
 has proposed the Plan in good faith and not by any means forbidden by law; (e) the disclosure required
 by Section 1125 of the Bankruptcy Code has been made; (f) the Plan has been accepted by the requisite
 majorities of holders of Claims and Interests in each impaired Class of Claims or Interests, or, if
 accepted by at least one but not all of such Classes, is "fair and equitable," and does not discriminate
 unfairly as to any non-accepting class, as required by the "cramdown" provisions of Section 1129(b) of
 the Bankruptcy Code; (g) the Plan is feasible; (h) the Plan is in the "best interests" of all holders of
 Claims and Interests in an impaired class by providing to such holders property of a value, as of the
 Effective Date, that is not less than the amount that such holder would receive or retain in a Chapter 7
 liquidation, unless each holder of a Claim or Interest in such Class has accepted the Plan; and (i) all


                                                     22



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                     Desc Main
                                   Document    Page 22 of 40
 bankruptcy fees payable to the Clerk of the Court and the Bankruptcy Administrator under 28 U.S.C.
 § 1930 have been paid, or the Plan provides for the payment of such fees on the Effective Date.

                   a.     Acceptance.

         Pursuant to Section 1126 of the Bankruptcy Code, the Plan is accepted by an impaired Class of
 Claims if holders of two-thirds in dollar amount and a majority in number of Claims of that Class vote
 to accept the Plan. Only the votes of those holders of Claims who actually vote (and are entitled to vote)
 to accept or reject the Plan count in this tabulation. The Plan will be accepted by an impaired Class of
 Interests if holders of two-thirds of the amount of outstanding shares in such class vote to accept the
 Plan (and only those voting count in the tabulation). Pursuant to Section 1129(a)(8), all the impaired
 Classes of Claims and Interests must vote to accept the Plan in order for the Plan to be confirmed on a
 consensual basis (and at least one such Impaired Class must accept the Plan without including the
 acceptance by an insider). However, under the cramdown provisions of Section 1129(b), only one
 impaired Class of Claims (determined without including the acceptance by an insider) needs to accept
 the Plan if the other conditions to cramdown are met.

         The Plan has three Classes of Claims which are Impaired and are entitled to vote on the Plan
 (Classes 1 through 3).

                   b.     Best Interests Test/Liquidation Analysis.

         Notwithstanding the acceptance of the Plan by each Impaired Class, Section 1129(a)(7) of the
 Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best interests of
 each holder of a Claim or Interest in an Impaired Class if any holder in that Class has voted against the
 Plan. Accordingly, if an Impaired Class under the Plan does not unanimously accept that Plan, the "best
 interests" test requires that the Bankruptcy Court find that the Plan provides to each member of such
 Impaired Class a recovery on account of the member's Claim or Interest that has a value, as of the
 Effective Date, that is not less than the value of the distribution that each such member would receive
 or retain if Debtor were liquidated under Chapter 7 of the Bankruptcy Code commencing on the
 Effective Date.

         To determine what members of each impaired Class of Claims would receive if the Debtor’s
 estate was liquidated under Chapter 7, the Court must consider the values that would be generated
 from a liquidation of the Debtor’s assets and properties in the context of a hypothetical liquidation
 under Chapter 7. From a review of the Debtor’s assets and liabilities, it is apparent that liquidation
 would not be a feasible solution to the repayment of       these Debtor’s debts.
                                                     23



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                    Desc Main
                                   Document    Page 23 of 40
         There are no long-term accounts receivables or residuary contact rights. Accordingly, a
 Chapter 7 Trustee would need to liquidate the Debtor’s assets. It is highly likely that unsecured priority
 creditors would receive only partial satisfactions of their claims and general unsecured creditors would
 receive no distribution in a Chapter 7 liquidation of the Debtor’s estate. The Debtor has prepared a
 detailed liquidation analysis which is attached hereto as Exhibit “C.”

         Thus, the Plan, which provides for the payment of secured and priority claims, retention of the
 Debtor’s property, and provides a distribution to general unsecured creditors, is a superior option to a
 Chapter 7 liquidation.

                 c.       Feasibility.

         Section 1129(a)(11) of the Bankruptcy Code requires a finding that Confirmation of the Plan is
 not likely to be followed by the liquidation, or the need for further financial reorganization, of the
 Debtor or any successor in interest, unless as here, liquidation is expressly contemplated by the Plan.
 The Debtor believes that it will be able to perform its obligations under the Plan and that therefore the
 Plan is feasible within the meaning of Section 1129(a)(11) of the Bankruptcy Code.

         The details of this case strongly support the feasibility of the proposed Plan and are supported
 by the following attachments to this Plan:

         -       The Debtor’s Profit and Loss Statements for 2014-2018 are attached hereto as Exhibit
                 “D.”

         -       The Debtor’s Projected Profit and Loss Statement for years 2019-2023 are attached
                 hereto as Exhibit “E.”

                 d.       Classification.

         Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification of
 claims. Section 1122(a) provides that claims or interest may be placed in a particular class only if they
 are substantially similar to the other claims or interest in that class. The Debtor believes that all Classes
 under the Plan satisfy the requirements of Section 1122(a). The Debtor believes that the classification
 of Claims set forth in the Plan is appropriate in classifying substantially similar Claims together, and
 does not discriminate unfairly in the treatment of those Classes. The Debtor believes that the Plan
 adheres to the absolute priority rule and treats holders of Claims and Interests in accordance with their
 contractual entitlement and applicable law.


                                                       24



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                     Desc Main
                                    Document    Page 24 of 40
 B.      Non-Consensual Confirmation.

         The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by all
 impaired Classes, as long as at least one impaired Class of Claims has accepted it (without counting the
 acceptances of insiders). These so-called "cramdown" provisions are set forth in Section 1129(b) of the
 Bankruptcy Code. The Plan may be confirmed under the cramdown provisions if, in addition to
 satisfying the other requirements of Section 1129 of the Bankruptcy Code, it (i) is "fair and equitable"
 and (ii) "does not discriminate unfairly" with respect to each Class of Claims or Interests that is
 impaired under, and has not accepted, such Plan.

         1.      Fair and Equitable Standard.

         With respect to a dissenting Class of unsecured creditors, the "fair and equitable" standard
 requires, among other things, that the Plan contain one of two elements. It must provide either that
 each unsecured creditor in the Class receive or retain property having a value, as of the Effective Date,
 equal to the Allowed amount of its Claim, or that no holder of Allowed Claims or Interests in any junior
 Class may receive or retain any property on account of such Claims or Interest. The strict requirements
 as to the allocation of full value to dissenting Classes before junior Classes can receive a distribution
 are known as the "absolute priority rule." In addition, the "fair and equitable" standard has also been
 interpreted to prohibit any class senior to a dissenting class from receiving under a plan more than one
 hundred percent (100%) of its Allowed Claims.

         2.      The Plan Must Not Discriminate Unfairly.

         As a further condition to approving a cramdown, the Bankruptcy Court must find that the Plan
 does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of Reorganization does
 not "discriminate unfairly" if (a) the Plan does not treat any dissenting impaired Class of Claims or
 Interests in a manner that is materially less favorable than the treatment afforded to another Class with
 similar legal Claims against or Interests in the Debtor and (b) no Class receives payments in excess of
 that which it is legally entitled to receive for its Claims or Interests. The Debtor believes that the Plan
 does not discriminate unfairly as to any impaired Class of Claims or Interests.

         If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by the
 requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves the right
 to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under Section 1129(b)
 of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity Interests that


                                                      25



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                     Desc Main
                                   Document    Page 25 of 40
 are deemed to reject the Plan, the Debtor will request that the Bankruptcy Court confirm the Plan
 pursuant to Section 1129(b) of the Bankruptcy Code.

 C.      Voting Procedures and Requirements.

         1.      Voting Requirements - Generally.

         Pursuant to the Bankruptcy Code, only holders of Claims that are allowed pursuant to Section
 502 of the Bankruptcy Code and that are impaired under the terms and provisions of the Plan are
 entitled to vote to accept or reject that Plan.

         All creditors who filed proofs of claim in an amount different from the amount set forth in the
 Debtor’s Schedules or whose Claim was not included in the Debtor’s Schedules are treated as the
 holder of a Disputed Claim under the Plan. However, all creditors whose Claims are impaired under
 the Plan will be treated as holders of Allowed Claims for voting purposes only. A Claim recorded in the
 Schedules or in the Clerk's records as wholly unliquidated, contingent and/or undetermined shall be
 accorded one vote and valued at one dollar for purposes of Section 1126(c) of the Bankruptcy Code,
 unless the holder of such Claim files with the Court and serves a request for temporary allowance of
 such Claim in a greater amount for voting purposes. If a Claim is recorded in the Schedules or in the
 Clerk's records as unliquidated, contingent and/or undetermined in part, the holder of the Claim shall
 be entitled to vote that portion of the claim that is liquidated, non-contingent and undisputed in the
 liquidated, non-contingent and undisputed amount, subject to any limitations set forth herein and
 unless otherwise ordered by the Court. The Debtor’s agreement to allow such creditors to vote on the
 Plan shall not waive the Debtor’s right to treat such Claims as Disputed Claims for all other purposes.

         Pursuant to the Bankruptcy Code a class of claims or interests is "impaired" if the legal,
 equitable, or contractual rights attaching to the claims or interests of that class are altered, other than
 by curing defaults and reinstating maturity.

         Classes of Claims that are not impaired are not entitled to vote on the Plan, are presumed to
 have accepted the Plan and will not receive a Ballot. As set forth above, the Claims in Class 1 are not
 impaired, and such Class of Claims is not entitled to vote on the plan and is presumed to have accepted
 the Plan pursuant to Section 1126(f) of the Bankruptcy Code. The classification of Claims and their
 designation as impaired or not impaired is summarized above in Section V, (A) entitled "Classification
 and Treatment of Claims and Interests."




                                                      26



Case 18-82075-CRJ11           Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                    Desc Main
                                    Document    Page 26 of 40
         2.      Voting Procedures.

         A Ballot for voting to accept or reject the Plan will be enclosed with each copy of the Disclosure
 Statement that is sent by the Court to parties entitled to vote. In most cases, the Ballot enclosed with
 this Disclosure Statement will be printed with the amount of your Claim for voting purposes. Such
 amount is based on your proof of claim, the Debtor’s Schedules or an order of the Court. All votes to
 accept or reject the Plan must be cast by using the Ballot enclosed with this Disclosure Statement.

         IF YOU HAVE A CLAIM THAT IS IMPAIRED UNDER THE PLAN ENTITLING YOU
 TO VOTE AND YOU DID NOT RECEIVE A BALLOT, RECEIVED A DAMAGED BALLOT, OR
 LOST YOUR BALLOT, PLEASE CONTACT THE U.S. BANKRUPTCY COURT AT (256) 353-
 2817. IF YOU HOLD CLAIMS IN MORE THAN ONE CLASS, YOU MAY RECEIVE MORE
 THAN ONE BALLOT. YOU SHOULD COMPLETE, SIGN AND RETURN EACH BALLOT
 YOU RECEIVE.

         Consistent with the provisions of Bankruptcy Rule 3018, the Court will fix a date as the record
 date for determining the holders of Claims who are entitled to receive a copy of this Disclosure
 Statement and to vote to accept or reject the Plan (the "Ballot Record Date"). Entities that acquire
 Claims after the Ballot Record Date will not be entitled to vote on the Plan.

         Under the Bankruptcy Code, for purposes of determining whether the requisite acceptances
 have been received, only those holders that vote to accept or reject the Plan will be counted. Votes
 cannot be transmitted orally or by facsimile transmission. Accordingly, it is important that you return
 your signed and completed Ballot(s) promptly. Failure by any holder to send a duly executed Ballot
 with an original signature will be deemed an abstention by such holder with respect to a vote on the
 Plan and will not be counted as vote for or against the Plan. To accept Plan, the holder must check the
 box entitled "accept the Plan" on the appropriate Ballot. Any Ballot cast that does not indicate whether
 the holder of the Claim or Interest is voting to accept or reject the Plan will not be counted as either an
 acceptance or rejection of the Plan. A vote may be disregarded if the Bankruptcy Court determines,
 after a hearing, that such acceptances or rejection was not solicited or procured in good faith or other
 in accordance with the provision of the Bankruptcy Code or if a Claim was voted in bad faith.

         3.      Voting Deadline.

         Voting on the Plan by each holder of a Claim in an Impaired Class is important. After carefully
 reviewing the Plan and this Disclosure Statement, please indicate your vote on each Ballot and return
 it in the pre-addressed envelope provided for this         purpose.
                                                      27



Case 18-82075-CRJ11          Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                     Desc Main
                                   Document    Page 27 of 40
       IN ORDER TO BE COUNTED, BALLOTS MUST BE SIGNED AND RETURNED SO
 THAT THEY ARE RECEIVED EITHER BY THE U.S. BANKRUPTCY COURT NO LATER
 THAN 4:30 P.M. CENTRAL STANDARD TIME ON THE DATE SET BY THE COURT (THE
 "VOTING DEADLINE”). TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE, SIGN
 AND RETURN THE BALLOT TO:

       Clerk
       U.S. Bankruptcy Court
       P.O. Box 2775
       Decatur, Alabama 35602

       PLEASE FOLLOW THE DIRECTIONS CONTAINED ON THE ENCLOSED BALLOT
 CAREFULLY. BALLOTS THAT ARE RECEIVED AFTER THE VOTING DEADLINE WILL
 NOT BE ACCEPTED OR USED BY THE DEBTOR IN SEEKING CONFIRMATION OF THE
 PLAN. IT IS OF THE UTMOST IMPORTANCE TO DEBTOR THAT YOU VOTE PROMPTLY
 TO ACCEPT THE PLAN.




                                         28



Case 18-82075-CRJ11     Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                              Document    Page 28 of 40
 Respectfully submitted this the 27th day of February, 2019.


                                                MADISON CHIROPRACTIC &
                                                NUTRITION CENTER, LLC



                                                /s/ Dr. Gregory B. Millar
                                                Dr. Gregory B. Millar, Managing Member


                                                /s/ Tazewell T. Shepard III
                                                Tazewell T. Shepard III
                                                Tazewell T. Shepard IV
                                                Attorneys for the Debtor

                                                SPARKMAN, SHEPARD & MORRIS, P.C.
                                                P. O. Box 19045
                                                Huntsville, AL 35804
                                                Tel: (256) 512-9924
                                                Fax: (256) 512-9837



                                   CERTIFICATE OF SERVICE

        This is to certify that this the 27th day of February, 2019, I have this day served the foregoing
 motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
 Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
 system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                                /s/ Tazewell T. Shepard IV
                                                Tazewell T. Shepard IV




                                                    29



Case 18-82075-CRJ11         Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36                   Desc Main
                                  Document    Page 29 of 40
EXHIBIT A




                       DEBTOR’S SUMMARY OF CHAPTER 11 OPERATING REPORTS


            July 2018
                   Total Monthly Sales                                       $ 63,920
                   Total Monthly Receipts                                    $ 63,920
                   Operating Expenses                                        $ 65,517
                   Net Profit/Loss                                           $ - 1,597
                   Cash on Hand at the end of month                          $ 9,311


            August 2018
                   Total Monthly Sales                                       $ 88,222
                   Total Monthly Receipts                                    $ 82,286
                   Operating Expenses                                        $ 84,465
                   Net Profit/Loss                                           $ 3,757
                   Cash on Hand at the end of month                          $ 7,132


            September 2018
                  Total Monthly Sales                                        $ 69,098
                  Total Monthly Receipts                                     $ 70,028
                  Operating Expenses                                         $ 67,129
                  Net Profit/Loss                                            $ 1,969
                  Cash on Hand at the end of month                           $ 10,031


            October 2018
                  Total Monthly Sales                                        $ 66,820
                  Total Monthly Receipts                                     $ 64,614
                  Operating Expenses                                         $ 66,344
                  Net Profit/Loss                                            $ 476
                  Cash on Hand at the end of month                           $ 8,301


            November 2018
                 Total Monthly Sales                                         $ 57,069
                 Total Monthly Receipts                                      $ 64,027
                 Operating Expenses                                          $ 66,115
                 Net Profit/Loss                                             $ - 9,046
                 Cash on Hand at the end of month                            $ 6,213




       Case 18-82075-CRJ11            Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36    Desc Main
                                            Document    Page 30 of 40
  1/6/2019                                                            ALNB Live Database Area


EXHIBIT B                       NORTHERN DISTRICT OF ALABAMA
                                        Claims Register
                            18-82075-CRJ11 Madison Chiropractic & Nutrition Center, LLC

                              Judge: Clifton R. Jessup, Jr.            Chapter: 11
                              Ofﬁce: Decatur                           Last Date to ﬁle claims: 10/23/2018
                              Trustee:                                 Last Date to ﬁle (Govt):
    Creditor:          (9794611)    History             Claim No: 1                         Status: 
    *Internal Revenue Service                           Original Filed                               
                                                                                            Filed by: CR 
    PO Box 7346                                         Date: 08/03/2018                    Entered by: Patricia Waln 
                      
    Philadelphia, PA 19101­7346                         Original Entered                    Modified:
                                                        Date: 08/03/2018
                                                        Last Amendment  
                                                        Filed: 12/14/2018
                                                        Last Amendment  
                                                        Entered: 12/14/2018
      Amount claimed: $105493.64
      Secured claimed:      $0.00
      Priority claimed: $85279.80

    History:
    Details         1­1   08/03/2018 Claim #1 filed by *Internal Revenue Service, Amount claimed: $97970.50 (Waln, Patricia)
    Details         1­2   09/11/2018 Amended Claim #1 filed by *Internal Revenue Service, Amount claimed: $102253.64 (Waln,
                                     Patricia)
     Details        1­3   09/19/2018 Amended Claim #1 filed by *Internal Revenue Service, Amount claimed: $104593.64 (Waln,
                                     Patricia)
     Details        1­4   10/03/2018 Amended Claim #1 filed by *Internal Revenue Service, Amount claimed: $105593.64 (Waln,
                                     Patricia)
     Details        1­5   10/25/2018 Amended Claim #1 filed by *Internal Revenue Service, Amount claimed: $105493.64 (Waln,
                                     Patricia)
     Details        1­6   12/14/2018 Amended Claim #1 filed by *Internal Revenue Service, Amount claimed: $105493.64 (Waln,
                                     Patricia)
    Description:
    Remarks:

    Creditor:          (9794603)    History             Claim No: 2                         Status: 
                                            
    *State of Alabama, Department of Revenue            Original Filed                               
                                                                                            Filed by: CR 
    Legal Division                                      Date: 08/06/2018                    Entered by: Mark D Griffin 
    P O Box 320001                                      Original Entered                    Modified:
                          
    Montgomery, AL 36132­0001                           Date: 08/06/2018

      Amount claimed: $169.89
      Priority claimed: $104.89
    History:
    Details         2­1   08/06/2018 Claim #2 filed by *State of Alabama, Department of Revenue, Amount claimed: $169.89
                                     (Griffin, Mark)
    Description: (2­1) Business Privilege Tax ­ 12/31/2016
    Remarks:




              Case 18-82075-CRJ11 Doc 65 Filed 02/27/19
  https://ecf.alnb.uscourts.gov/cgi-bin/SearchClaims.pl?108221597188663-L_1_0-1Entered 02/27/19 14:43:36                  Desc Main   1/3
                                                       Document           Page 31 of 40
1/6/2019                                                            ALNB Live Database Area
  Creditor:          (9794603)    History             Claim No: 3                         Status: 
                                          
  *State of Alabama, Department of Revenue            Original Filed                               
                                                                                          Filed by: CR 
  Legal Division                                      Date: 08/09/2018                    Entered by: Mark D Griffin 
  P O Box 320001                                      Original Entered                    Modified:
                        
  Montgomery, AL 36132­0001                           Date: 08/09/2018

    Amount claimed: $1100.39
    Secured claimed: $1100.39
  History:
  Details         3­1   08/09/2018 Claim #3 filed by *State of Alabama, Department of Revenue, Amount claimed: $1100.39
                                   (Griffin, Mark)
  Description: (3­1) Withholding Tax ­ (6/30/2017)
  Remarks:

  Creditor:          (9794603)    History             Claim No: 4                         Status: 
                                          
  *State of Alabama, Department of Revenue            Original Filed                               
                                                                                          Filed by: CR 
  Legal Division                                      Date: 08/09/2018                    Entered by: Mark D Griffin 
  P O Box 320001                                      Original Entered                    Modified:
                        
  Montgomery, AL 36132­0001                           Date: 08/09/2018

    Amount claimed: $7620.03
    Priority claimed: $7400.12

  History:
  Details         4­1   08/09/2018 Claim #4 filed by *State of Alabama, Department of Revenue, Amount claimed: $7620.03
                                   (Griffin, Mark)
  Description: (4­1) Withholding Tax ­ (12/31/2017, 3/31/2018 & 6/30/2018)
  Remarks:

  Creditor:          (9838965)                        Claim No: 5                         Status: 
                                 
  Lynda Hall, Tax Collector of Madison CO, AL         Original Filed                               
                                                                                          Filed by: CR 
  100 Northside Square, Room 116                      Date: 08/29/2018                    Entered by: Selina G Wells 
  Huntsville, AL 35801                                Original Entered                    Modified:
                                                      Date: 08/29/2018

    Amount claimed: $745.44
    Priority claimed: $745.44

  History:
  Details         5­1   08/29/2018 Claim #5 filed by Lynda Hall, Tax Collector of Madison CO, AL, Amount claimed: $745.44
                                   (Wells , Selina)
  Description:
  Remarks:


  Creditor:          (9891675)                        Claim No: 6                         Status: 
  Alabama Department of Labor                         Original Filed                               
                                                                                          Filed by: CR 
  649 Monroe Street, Room 4207                        Date: 10/22/2018                    Entered by: Paul Douglas White 
  Montgomery AL 36131                                 Original Entered                    Modified:
                                                      Date: 10/22/2018




  History:
  Details         6­1   10/22/2018 Claim #6 filed by Alabama Department of Labor, Amount claimed: $298.38 (White, Paul)
  Description: (6­1) Unemployment Taxes
  Remarks:
            Case 18-82075-CRJ11 Doc 65 Filed 02/27/19
https://ecf.alnb.uscourts.gov/cgi-bin/SearchClaims.pl?108221597188663-L_1_0-1Entered 02/27/19 14:43:36                  Desc Main   2/3
                                                     Document           Page 32 of 40
1/6/2019                                                            ALNB Live Database Area

    Amount claimed: $298.38
    Priority claimed: $298.38

  History:
  Details          6­1   10/22/2018 Claim #6 filed by Alabama Department of Labor, Amount claimed: $298.38 (White, Paul)
  Description: (6­1) Unemployment Taxes
  Remarks:



                                                   Claims Register Summary
                                  Case Name: Madison Chiropractic & Nutrition Center, LLC
                                             Case Number: 18-82075-CRJ11
                                                      Chapter: 11
                                                 Date Filed: 07/13/2018
                                              Total Number Of Claims: 6

                                              Total Amount Claimed* $115427.77
                                              Total Amount Allowed*
                                                *Includes general unsecured claims

           The values are reﬂective of the data entered. Always refer to claim documents for actual amounts.

                                                                       Claimed Allowed
                                                Secured         $1100.39
                                                Priority       $93828.63
                                                Administrative




            Case 18-82075-CRJ11 Doc 65 Filed 02/27/19
https://ecf.alnb.uscourts.gov/cgi-bin/SearchClaims.pl?108221597188663-L_1_0-1Entered 02/27/19 14:43:36    Desc Main        3/3
                                                     Document           Page 33 of 40
EXHIBIT C



                                     DEBTOR’S LIQUIDATION ANALYSIS


        REAL PROPERTY – N/A

        PERSONAL PROPERTY:

            a. Unencumbered cash-on-hand (as of November 30, 2018)                           $   6,213.00

            b. Equipment (organized by classes in Plan of Reorganization):

               Class 1 – ADOR Secured Claim
                      Creditor’s Value of Collateral                                      $ 19,000.00
                      Creditor’s Claim Amount                                             $ 1,100.39
                      Assumption: Creditor repossesses some collateral to satisfy its secured debt.

            c. Additional property free and clear of liens
                      Accounts receivable (as of November 30, 2018)                          $ 18,662.00
                            (less 30% discount for collectability and costs)                 $ 13,063.40

                      Collection of note                                                     $   6,000.00
                             (less 30% costs of collection)                                  $   4,200.00

                      All remaining personal property                                        $   17,899.61
                             (less 30% discount for liquidation value)                       $   12,529.73

        FUNDS AVAILABLE FOR PRIORITY AND GENERAL UNSECURED CREDITORS                         $ 36,005.40


        SATISFACTION OF DEBTS / CLASS DISTRIBUTION IN A HYPOTHETICAL LIQUIDATION

               Class 1: Satisfied.

               Class 2-3: Partially satisfied as follows –

                      Administrative Expenses
                            Partially satisfied.
                                    Unpaid attorney’s fees – satisfied – estimated at $5,000.00 as of the
                                    filing of this Disclosure Statement
                                    Priority tax claims – estimated recovery – approximately $0.38 on
                                    the dollar, before accounting for Chapter 7 trustee expenses.

               Class 4: General unsecured creditors:
                             No distribution.

               Class 4: No distribution; equity-holder interests are totally extinguished.




      Case 18-82075-CRJ11            Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36              Desc Main
                                           Document    Page 34 of 40
EXHIBIT D

   Madison Chiropractic & Nutrition Center
   Historic Profit & Loss - Cash Basis

                                                      FYE 2014

   Revenues                          $                                  306,974



   Management fees                                                       51,293
   Accounting and legal                                                     -
   Admin and billing service                                                -
   Advertising                                                           11,963
   Automobile expense                                                       -
   Bank fees                                                              2,095
   Computer support                                                       4,118
   Contract labor                                                         4,653
   Contributions                                                            250
   Corporate expenses                                                       -
   Depreciation                                                           3,450
   Director fees                                                            -
   Dues and subscriptions                                                   -
   Finance charges                                                          630
   Insurance - other                                                      1,004
   Insurance - malpractice                                                  519
   Insurance - health                                                     3,243
   Meals and entertainment                                                1,820
   Marketing expense                                                      4,279
   Office expense                                                        51,559
   Postage and shipping                                                     133
   Professional development                                               2,184
   Refund expense                                                           -
   Rent expense                                                          23,945
   Repairs and maintenance                                                2,356
   Salaries and wages                                                   127,731
   Supplies                                                                 -
   Taxes - payroll                                                       10,627
   Other payroll expenses                                                   748
   Taxes - other                                                          1,031
   Telephone                                                              4,367
   Travel expense                                                             39
   Utilities                                                              4,321
   Interest                                                               1,244
   Miscellaneous                                                            754
     Total Operating Expenses                                           320,356


   Incentive payment                                                     11,760
   Penalties                                                                -
     Total Other Income (Expenses)                                       11,760

                                     $                                    (1,622)



     Case 18-82075-CRJ11             Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                                           Document    Page 35 of 40
Madison Chiropractic & Nutrition Center
Historic Profit & Loss - Cash Basis

                                                   FYE 2015

Revenues                          $                                    309,724




Management fees                                                        101,591
Accounting and legal                                                       -
Admin and billing service                                                  -
Advertising                                                                -
Automobile expense                                                         -
Bank fees                                                                3,116
Computer support                                                         1,499
Contract labor                                                           2,409
Contributions                                                              -
Corporate expenses                                                         -
Depreciation                                                               -
Director fees                                                            1,000
Dues and subscriptions                                                     -
Finance charges                                                            760
Insurance - other                                                        1,093
Insurance - malpractice                                                    -
Insurance - health                                                         813
Meals and entertainment                                                  1,405
Marketing expense                                                        2,287
Office expense                                                           9,430
Postage and shipping                                                       -
Professional development                                                 1,335
Refund expense                                                             -
Rent expense                                                            19,120
Repairs and maintenance                                                  4,528
Salaries and wages                                                     132,516
Supplies                                                                   -
Taxes - payroll                                                         11,809
Other payroll expenses                                                     179
Taxes - other                                                            1,241
Telephone                                                                2,557
Travel expense                                                             -
Utilities                                                                5,456
Interest                                                                 1,152
Miscellaneous                                                              806
  Total Operating Expenses                                             306,102



Incentive payment                                                          -
Penalties                                                                  -
  Total Other Income (Expenses)                                            -

                                  $                                      3,622



  Case 18-82075-CRJ11             Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                                        Document    Page 36 of 40
Madison Chiropractic & Nutrition Center
Historic Profit & Loss - Cash Basis

                                                   FYE 2016

Revenues                          $                                    476,946




Management fees                                                        207,650
Accounting and legal                                                       -
Admin and billing service                                                  -
Advertising                                                              2,346
Automobile expense                                                       2,405
Bank fees                                                                5,043
Computer support                                                           590
Contract labor                                                          18,531
Contributions                                                              -
Corporate expenses                                                         -
Depreciation                                                             3,524
Director fees                                                              -
Dues and subscriptions                                                     225
Finance charges                                                          2,110
Insurance - other                                                          -
Insurance - malpractice                                                  1,469
Insurance - health                                                         -
Meals and entertainment                                                  8,037
Marketing expense                                                        3,488
Office expense                                                          16,422
Postage and shipping                                                        11
Professional development                                                   593
Refund expense                                                             -
Rent expense                                                            18,830
Repairs and maintenance                                                  4,872
Salaries and wages                                                     178,899
Supplies                                                                   -
Taxes - payroll                                                         14,626
Other payroll expenses                                                     -
Taxes - other                                                            2,059
Telephone                                                                  -
Travel expense                                                           1,832
Utilities                                                                4,988
Interest                                                                   -
Miscellaneous                                                              297
  Total Operating Expenses                                             498,847



Incentive payment                                                            3
Penalties                                                                 (124)
  Total Other Income (Expenses)                                           (121)

                                  $                                    (22,022)



  Case 18-82075-CRJ11             Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                                        Document    Page 37 of 40
Madison Chiropractic & Nutrition Center
Historic Profit & Loss - Cash Basis

                                                   FYE 2017

Revenues                          $                                    618,331




Management fees                                                        290,005
Accounting and legal                                                       -
Admin and billing service                                                  -
Advertising                                                              2,131
Automobile expense                                                       5,213
Bank fees                                                                7,345
Computer support                                                           830
Contract labor                                                          34,980
Contributions                                                              -
Corporate expenses                                                         -
Depreciation                                                             4,074
Director fees                                                              -
Dues and subscriptions                                                     -
Finance charges                                                          3,235
Insurance - other                                                          -
Insurance - malpractice                                                  1,958
Insurance - health                                                         -
Meals and entertainment                                                  9,262
Marketing expense                                                        3,957
Office expense                                                          26,575
Postage and shipping                                                       191
Professional development                                                 1,128
Refund expense                                                             -
Rent expense                                                            18,300
Repairs and maintenance                                                  6,647
Salaries and wages                                                     215,685
Supplies                                                                   -
Taxes - payroll                                                         17,351
Other payroll expenses                                                     -
Taxes - other                                                            2,127
Telephone                                                                4,233
Travel expense                                                             441
Utilities                                                                5,359
Interest                                                                   -
Miscellaneous                                                            1,204
  Total Operating Expenses                                             662,231



Incentive payment                                                          -
Penalties                                                                 (723)
  Total Other Income (Expenses)                                           (723)

                                  $                                    (44,623)



  Case 18-82075-CRJ11             Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                                        Document    Page 38 of 40
Madison Chiropractic & Nutrition Center
Historic Profit & Loss - Cash Basis

                                                   FYE 2018

Revenues                          $                                    841,435




Management fees                                                        224,388
Accounting and legal                                                     2,520
Admin and billing service                                               35,091
Advertising                                                             13,839
Automobile expense                                                      14,770
Bank fees                                                               10,779
Computer support                                                           -
Contract labor                                                          23,295
Contributions                                                            2,500
Corporate expenses                                                       4,200
Depreciation                                                               -
Director fees                                                              -
Dues and subscriptions                                                     -
Finance charges                                                          2,046
Insurance - other                                                        1,334
Insurance - malpractice                                                  1,958
Insurance - health                                                       2,344
Meals and entertainment                                                 15,546
Marketing expense                                                       69,332
Office expense                                                          53,632
Postage and shipping                                                       263
Professional development                                                 3,320
Refund expense                                                          14,463
Rent expense                                                            24,500
Repairs and maintenance                                                  5,797
Salaries and wages                                                     284,878
Supplies                                                                 1,063
Taxes - payroll                                                         23,120
Other payroll expenses                                                   6,191
Taxes - other                                                            2,824
Telephone                                                                7,390
Travel expense                                                           2,004
Utilities                                                                7,363
Interest                                                                   -
Miscellaneous                                                            2,425
  Total Operating Expenses                                             863,175



Incentive payment                                                          -
Penalties                                                                  -
  Total Other Income (Expenses)                                            -

                                  $                                    (21,740)



  Case 18-82075-CRJ11             Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                                        Document    Page 39 of 40
EXHIBIT E


     MCNC Projected Budget for Years 2019-2023


     Projected Revenues                                                  845,000




     Ongoing Operating Expenses
     Management fees                                                       21,000
     Accounting and legal                                                  27,250
     Admin and billing service                                             42,584
     Advertising                                                           10,400
     Automobile expense                                                    12,000
     Bank fees                                                             11,072
     Contract labor                                                        17,400
     Corporate expenses                                                   111,400
     Insurance - other                                                      6,365
     Meals and entertainment                                                7,517
     Marketing expense                                                    105,600
     Office expense                                                        37,000
     Professional development                                               3,407
     Rent expense                                                          43,500
     Repairs and maintenance                                                5,962
     Salaries and wages                                                   308,308
     Taxes - payroll                                                       23,586
     Taxes - other                                                          2,555
     Telephone                                                             13,320
     Travel expense                                                          852
     Utilities                                                              8,517
     Miscellaneous                                                          1,555
       Total Operating Expenses                                           821,150


       Proposed Chapter 11 Payments
     ADOR                                                                   1,965
     IRS                                                                   20,484
       Lynda Hall, Tax Collector                                             745
     Additional Payment ADOR                                                 298
    Total Annual Plan Payments                                            23,493




       Net Income                                                            357




       Case 18-82075-CRJ11            Doc 65 Filed 02/27/19 Entered 02/27/19 14:43:36   Desc Main
                                            Document    Page 40 of 40
